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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION



Stacey Abrams,                                         Case No.

          Plaintiff,

v.                                                                COMPLAINT

Ceteris Portfolio Services, LLC
dba SRA Associates
dba Strategic Resource Alternatives                    Jury Demand Requested
c/o Illinois Corporation Service Co.
801 Adlai Stevenson Drive
Springfield, IL 62703,

                             Defendant.

                                      JURISDICTION AND VENUE

     1- This court has jurisdiction pursuant to 28 U.S.C. §§1331, 1337, 1367; and 15 U.S.C.

         §1692k(d).

     2- Venue is proper because a substantial part of the events giving rise to this claim occurred

         in this District.

                                                PARTIES

     3- Plaintiff is a resident of the State of Illinois.

     4- Plaintiff is a “consumer” as defined in the Fair Debt Collection Practices Act, 15 USC

         1692 et seq. (“FDCPA”).

     5- Plaintiff incurred a “Debt” as defined in the FDCPA.

     6- Defendant is a company with its principal office in the State of New Jersey.

     7- Defendant acquired the Debt after it was in default.




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8- Defendant regularly attempts to collects, or attempts to collect, debts that it acquired after

   the same were in default.

9- Defendant uses instruments of interstate commerce for its principal purpose of business,

   which is the collection of debts.

10- At all times relevant, Defendant was a “debt collector” as defined in the FDCPA.

                         FACTS COMMON TO ALL COUNTS

11- In or around June 2021, Defendant telephoned Plaintiff to collect a debt.

12- During this communication, Plaintiff notified Defendant that she was represented by an

   attorney and provided her attorney’s contact information.

13- During this communication, despite being told that Plaintiff was represented by an

   attorney, Defendant continued to speak with Plaintiff and tried to discuss payment options.

14- During this communication, Plaintiff again notified Defendant that she was represented by

   an attorney and wanted to remain represented by her attorney.

15- Despite having notice of Plaintiff’s representation, in or around July 2021, Defendant

   again telephone Plaintiff.

16- During this communication, Defendant asked Plaintiff if she had reconsidered the

   payment options that were mentioned in the previous call.

17- By attempting to discuss payment options after being notified that Plaintiff was

   represented by an attorney, Defendant violated the FDCPA.

18- By contacting Plaintiff after being notified that she was represented by an attorney,

   Defendant violated the FDCPA.

19- Defendant damaged Plaintiff.




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                                                COUNT I

20- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

21- Defendant violated 15 USC § 1692e by engaging in false, deceptive, or misleading

    methods to collect a debt.

                                                COUNT III

22- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

23- Defendant violated 15 USC § 1692f by engaging in unfair and/or unconscionable means to

    collect, or attempt to collect, the Debt.

                                                COUNT III

24- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

25- Defendant violated 15 USC § 1692e(5) by threatening action that could not be legally

    taken or that Defendant did not intend to take.

                                                COUNT IV

26- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

27- Defendant violated 15 USC § 1692e(10) by making false representations during the

    collection of a debt.

                                      JURY DEMAND

28- Plaintiff demands a trial by jury.

                                  PRAYER FOR RELIEF

29- Plaintiff prays for the following relief:

     a. Judgment against Defendant for Plaintiff’s actual damages, as determined at trial,

         suffered as a direct and proximate result Defendant’s violations of the Fair Debt

         Collection Practices Act, pursuant to 15 U.S.C. §1692k(a)(1);




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b. Judgment against Defendant for $1,000 in statutory damages for Defendant’s

   violations of the Fair Debt Collection Practices Act, pursuant to 15 U.S.C.

   §1692k(a)(2)(A);

c. Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and costs

   incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

d. Any other legal and/or equitable relief as the Court deems appropriate.

                                     RESPECTFULLY SUBMITTED,

                                     The Litigation Practice Group

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